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 U.S. D~trict Court
Eastern District of MO
 IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF MISSOURI
                                     )
                                     )
                                     )
                                     )          COMPLAINT NO.
DONALD HARDEN                            ),
Plaintiff                                )
vs.


MISSOURI BOARD OF PROBATION AND PAROLE,
CHAIRMAN DON PHILLIPS, DISTRICT ADMINISTRATOR, VALORIE
SPARKS, UNIT SUPERVISORS TERR~ BROLEMAN, DAVE
SCRUGG, Parole Officer, ADRIAN HARRIS and, MISSOURI
INTERVENTION FEE PROGRAM.
Defendants.




   AMERICANS WITH DISABILITY ACT OF 1990, 42 U.S.C.1213-12134,
            AND ITS IMPLEMENTING REGULATIONS


      1. Plaintiff Donald Harden, bring this action to enforce his rights with a
         serious physical illness ignored in a manner that results in the
         unnecessary continued intervention fee assessments, no opportunity
         for lower level supervision and early parole release.
      2. Plaintiff has a disability within the meaning of 42 U.S.C. subsection
         12102.
      3. Plaintiff has been subjected to intentional discrimination becuse of
         his disabilies.
      4. For nearly 15 years defendants have deliberately ignored or not
         considered plaintiffs disabilities serious.
      5. Plaintiff has a severe back injury. Plaintiff has consulted with more
         than 10-12 leading orthopedic back surgeons. This injury has
         resulted in numerous back surgeries including 25 or more therapeutic
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    injections, informally known as 'cortisone shots ' ( over a number of
    years), a discectomy, and finally an level II spine fusion, physical
    therapy, walker, back brace, cane, pain medications, including 30 mg
    oxycodone, 30 mg morphine which is the current treatment plaintiff
    has been receiving on a bi-monthly basis for over ten (10) years.
 6. Each visit and appearance to the Probation and Parole office plaintiff
    has provided defendants with a copy of his medications and doctor
    visits for their records.
 7. However, defendants have continued to ignore any and all evidence
    of plaintiff's medical conditions.
 8. On many visits to defendants' offices, plaintiff was notified that the .
    intervention fee was overdue and as required by state law as a
    condition of parole to pay intervention fees or be subject to continued
    high level of supervision, (other non specific) sanctions and/or
    returned to confinement.
 9. Plaintiff has been threatened to remain on increased supervision and
    has in fact, been subjected to the highest level of supervision since
    March 2001.
 10. Plaintiff has been denied lower levels of supervision without
    reasons or ability to appeal.
 11. According to the Missouri Department of Corrections Division of
    Probation and Parole if you are not disable or otherwise exempt
    from paying intervention fees, you are required to pay a monthly
    intervention fee of $30.00 - $60.00 throughout the duration of your
    supervision.
 12. Plaintiff was released on parole March 6, 2001, by the Missouri
    Board of Probation and Parole.
 13. The Missouri intervention fee program was not established until
    May 2005.
 14. Plaintiff was seriously injured in a work related incident in
    June 2003.
 15. Plaintiff cannot and has not worked since June 2003.
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       16. Plaintiff immediately notified his parole officer(s) of his serious
          injury that limited his ability to work at the time it occurred.
       17. Plaintiff informed defendants on numerous occasions that he has a
          L 1-LS lumbar spine injury of the spinal cord that resulted with
          plaintiff not being able to work, often not being able to walk, stand, sit,
          drive. laydown, standup, run, bounce, poor posture and/or other
          limitations including shortness of breath, numbness and feelings of
          pin and needles in the legs and feet, and depression.
       18. Plaintiff has been treated for Back Pain treatment by Dr. Kevin A.
          Coleman, MD, and Susan Wittlich MD, at Millennium Pain
          Management for nearly ten (10) years constantly.
       19. Defendant(s) rejected plaintiffs' excuse and advised him that
          simple back pain was irrelevant to the assessment of intervention
          fees.
    Plaintiff was officially determined totally disable by a Social Security
    Federal disability Judge in 2007.
       20. The State of Missouri and Missouri Department of Social Services
          (MO HEALTH NET) declared the plaintiff totally disable in 2010,
          with benefits including medications and treatment at Millennium Pain
          Management, and ongoing.
       21. Plaintiff provided defendants with copies of each above mentioned
          decision.
       22. Plaintiff have had as many as 20 (twenty) or more different parole
          officers since March 2001.
       23. To date, defendants continue to deny plaintiffs' injuries or refuse to
          exempt plaintiff from paying intervention fees.
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       24. Plaintiff has not paid a monthly intervention fee throughout the
          duration of his supervision.
       25. Defendants have placed plaintiff in (a non- official like) violation
          status for not paying intervention fees.
       26. Plaintiff has been denied lower levels of supervision and thus,
          early release from parole for being in (a non-official like) violation
          status for not paying intervention fees.
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   27.   As recently as May 2020, plaintiff provided defendants with
      documentation including recent paperwork from his pain
      management care treatment provider, a compact disk with a copy of
      an MRI scan (and written detail evaluation) and other recent
      medical records relevant to plaintiffs' disability.
   28. Defendants have stated that the plaintiff could be subjected to
      intervention fees and current level of supervision indefinite.
   29. Defendants stated vindictiveness and refusal to acknowledge
      documented medical conditions has resulted in a current overdue
      intervention fee balance of $3250.00 or more, with hints and slight
      indications or suggestions of continued high level of supervision
      along with an untimely scheduled release from parole.
   30. As a result of defendants discriminatory conduct, plaintiffs
      suffered physical pain, mental and emotional distress.
                         31. PRAYER FOR RELIEF

    WHEREFORE, the plaintiff Donald Harden request this court:
A. Grant judgement in favor of the plaintiff and declare that defendants
violated Title I, II, Ill, of the ADA, 42 U.S.C. subsection 12181-89 and/or its
implementing regulations, 28 CFR, part 36:
B. other defendants, its officers, agents, employees, and all others in
concert or participants with it, to comply with the requirements of Title I, II,
Ill of ADA, 42 U.S.C subsection 12181-89.
C. award compensatory damages including damages for pain, suffering
mental and emotional distress, to aggrieved person under 42 U.S.C.
subsection 12188-96, for injuries suffered as a result of defendant's
violation of Title I, II, Ill, of ADA subsection 12181-89, and its implementing
regulations.
D. assess a civil penalty against defendants in the maximum authorized by
42 U.S.C. subsection 12188(b)(2)(c), to vindicate the plaintiff as well as the
public interest; and
E. order such other appropriate relief as the interests of justice may require.
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                        this .\a'   (.   day of June 2020




Donald Harden/Pl

                         CERTIFICATE OF SERVICE




I, plaintiff Donald Harden hereby certify that on this \-S:ith day of June 2020,
 two (2) true and correct copies of the following documents was mailed to
              the office of Missouri Attorney General Eric Schmitt
                        Wainwright State Office Building
                                   111 N. 7th St.
                               St. Louis, Mo 63101




                                    Plaintiff
                               3725 N. 20th St.
                             St. Louis, MO 63107
                                (314) 621-9992
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CC:




Missouri Board of Probation and Parole
Chairman,
Don Phillips,
District Administrator, Valorie Sparks,
Unit Supervisors Terri Broleman, Dave
Scrugg,
Parole Officer, Adrian Harris and Missouri
Intervention Fee
Program



Probation and Parole Office
220 S. Jefferson Ave
St. Louis, MO 63103




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